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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                       CRIMINAL MINUTES - SENTENCING AND JUDGMENT

Case No.     CR-07-1037-R                                                     Date: APRIL 21, 2008

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PRESENT: HONORABLE MANUEL L. REAL, JUDGE

William Horrell                          Sheri Kleeger                         Stephen Cazares
Courtroom Deputy                         Court Reporter                        Asst. U.S. Attorney

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U.S.A. vs (Dft listed below)                          Attorneys for Defendants

1)   ROBERT NEMAN                                         1)      Donald Re
     X present X bond                                             X present      X retained

PROCEEDINGS:       SENTENCING




           Refer to SEPARATE Judgment and Probation/Commitment Order.




                                                               10 min
                                                               Deputy Clerk Initials ___WH_____




                        CR 90 (2/91)CRIMINAL MINUTES - SENTENCING AND JUDGMENT
